     Case 2:06-cr-20043-JWL         Document 249        Filed 02/13/07     Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS



UNITED STATES OF AMERICA

                       Plaintiff,

v.                                                             Case No. 06-20043-JWL

JOSEPH L. SHURTZ,

                       Defendant.


                                MEMORANDUM AND ORDER

        Defendant Joseph Shurtz was convicted on December 1, 2006, of conspiracy to distribute

methamphetamine, two counts of distribution of methamphetamine, possession with intent to

distribute methamphetamine, and using and carrying a firearm during and in relation to a drug

trafficking crime. This matter is presently before the court on Mr. Shurtz’s motion for acquittal

(doc. 228).1 For the reasons explained below, Mr. Shurtz’s motion is denied.

I.      Standard

        A motion for judgment of acquittal challenges the sufficiency of the evidence. United

States v. Urena, 27 F.3d 1487, 1490 (10th Cir. 1994). In deference to the jury’s finding of guilt,

the court must view the evidence in a light most favorable to the government. United States v.



        1
         The plaintiff failed to file a response to the defendant’s motion for acquittal within the time
set by order of this court. Thus, the court issued an order directing the plaintiff to show good cause
why it failed to file a timely response. The government responded to the show cause order and filed
its response to the defendant’s motion. Because the court concludes that good cause has been shown
not to decide the motion as uncontested, it will consider the plaintiff’s response.
      Case 2:06-cr-20043-JWL      Document 249       Filed 02/13/07    Page 2 of 6




Valadez-Gallegos, 162 F.3d 1256, 1262 (10th Cir. 1998). The court must then determine

whether there is substantial evidence to support a verdict of guilt beyond a reasonable doubt.

Id. To support a conviction the evidence must do more than simply raise a suspicion of guilt;

the evidence must be substantial. United States v. Taylor, 113 F.3d 1136, 1144 (10th Cir. 1997).

The jury, as fact finder, is entitled to consider both direct and circumstantial evidence, as well

as all reasonable inferences therefrom. United States v. Hooks, 780 F.2d 1526, 1531 (10th Cir.

1986). “Even though rational jurors may believe in the likelihood of the defendants’ guilt, . . .

they may not convict on that belief alone.” United States v. Jones, 49 F.3d 628, 632 (10th Cir.

1995).

II.      Analysis

         The evidence at trial, viewed in the light most favorable to the government, established

the following facts. Mr. Shurtz regularly purchased methamphetamine from Rena Cross and

James Stewart which he would then resell for a profit. Sometimes, in exchange for small

quantities of methamphetamine, Walter Flaugher or James Watterson would deliver the

methamphetamine to the intended recipient for Mr. Shurtz. Mr. Flaugher also delivered

methamphetamine for Rena Cross and Mr. Scott on occasion.

         On April 25, May 10, and August 16 of 2005, Mr. Shurtz sold methamphetamine to a

confidential informant. The confidential informant testified that she was referred to Mr. Shurtz

by Mr. Scott. After the controlled buy that occurred on August 16, 2005, law enforcement

officials pulled over the vehicle Mr. Shurtz was driving. At that time, Mr. Watterson, who was

also in the vehicle, jumped out and ran away from the car while carrying a bag. When the

                                                2
   Case 2:06-cr-20043-JWL           Document 249        Filed 02/13/07      Page 3 of 6




officials apprehended Mr. Watterson, it was discovered that the bag contained two firearms.

       A forensic chemist analyzed the substances received in the April 25 and May 10

controlled buys and concluded that both contained methamphetamine hydrochloride and

dimethyl sulphone, an agent commonly used to cut methamphetamine. The April 25 substance

was 50% pure and the May 10 substance was 51% pure. Based on all of these facts, a jury

convicted Mr. Shurtz of conspiracy to distribute methamphetamine, two counts of distribution

of methamphetamine, possession with intent to distribute methamphetamine, and using and

carrying a firearm during and in relation to a drug trafficking crime.

       Mr. Shurtz raises two issues in his motion for acquittal. Mr. Shurtz first argues that

because the government did not prove that he conspired with each of the individuals charged in

the indictment, it failed to meet its burden of establishing that the conspiracy was proven in the

manner or means alleged in the indictment. Mr. Shurtz additionally argues that the court erred

in instructing the jury that proof of each co-conspirator’s involvement in the conspiracy was not

necessary to support a conviction.2

       In United States v. Johnston, 146 F.3d 785 (10th Cir. 1998), the defendant argued that the

government failed to prove its case because it did not establish that he conspired with all of the

co-conspirators named in the indictment. Id. at 791. The court noted that “[a] variance arises

when the evidence adduced at trial establishes facts different from those alleged in an



       2
         Jury Instruction No. 23 provided: “The evidence in the case need not establish . . . that all of
the persons charged to have been members of the alleged conspiracy were members.” This language
is identical to that found in Tenth Circuit Pattern Instruction No. 2.87.

                                                   3
   Case 2:06-cr-20043-JWL        Document 249       Filed 02/13/07    Page 4 of 6




indictment.” Id. (citing United States v. Ailsworth, 138 F.3d 843, 847-48 (10th Cir. 1998). The

Circuit went on to find, however, that there was no variance in the Johnston case. Id. The

indictment in Johnston alleged that the defendant conspired with specific people named in the

indictment “and with others both known and unknown to the Grand Jury to knowingly and

intentionally distribute, and possess with intent to distribute, marijuana. . .” Id. (emphasis in

original). Therefore, the Circuit concluded, “the government was not required to prove that

Johnston conspired with any or all of the named codefendants, so long as it at least proved he

conspired ‘with others’ for the purpose alleged.” Id. Accordingly, the Circuit rejected the

defendant’s argument because the evidence was sufficient to show that the defendant had

conspired with another person to facilitate the distribution of marijuana. Id.

       As in Johnston, Count I of the indictment in this case (doc. 1) read as follows: “the

defendants, Edward S. Scott, Rena J. Cross, Joseph L. Shurtz, James J. Watterson, Piper J.

Noble, Tyrone D. Tyner, Bobby D. Garner, and Walter R. Flaugher, unlawfully, knowingly and

intentionally combined, conspired, confederated and agreed together and with each other, and

with other persons known and unknown . . . .” Because this indictment contained the “with other

persons known and unknown” language, just like the indictment in Johnston, the court concludes

that the government did not have to prove that Shurtz conspired with all of the named co-

conspirators; it only had to prove that he conspired “with others” to distribute methamphetamine.

       Mr. Shurtz does not argue that the evidence was insufficient for the jury to find beyond

a reasonable doubt that he conspired with Ms. Cross, Mr. Watterson, Mr. Stewart, and Mr.

Flaugher. Therefore, the court finds the evidence at trial was sufficient to support Mr. Shurtz’s

                                               4
   Case 2:06-cr-20043-JWL          Document 249     Filed 02/13/07     Page 5 of 6




conviction on the conspiracy count. Because the court finds that the government did not have

to prove each co-conspirator’s involvement in the conspiracy, it further concludes that Jury

Instruction Number 23 was appropriate and the court rejects Mr. Shurtz’s argument to the

contrary.

        Second, Mr. Shurtz argues that he is entitled to acquittal on all counts because the

government introduced no evidence establishing that the methamphetamine involved in the case

had a stimulant effect on the central nervous system, which Mr. Shurtz alleges is necessary to

establish the methamphetamine was a controlled substance within the meaning of 21 C.F.R. §

1308.12(d) and 21 U.S.C. § 812. The court disagrees.

        Controlled substances are divided into different schedules. See 21 U.S.C. § 812(a). 21

C.F.R. § 1308.12 provides that Schedule II of controlled substances includes: “(d) Stimulants.

Unless specifically excepted or unless listed in another schedule, any material, compound,

mixture, or preparation which contains any quantity of the following substances having a

stimulant effect on the central nervous system: . . . (2) Methamphetamine, its salts, isomers, and

salts of its isomers . . . .”

        According to Mr. Shurtz, this regulation requires that, to prove the methamphetamine in

question is a controlled substance, the government must prove it has a stimulant effect on the

central nervous system.         The court, however, interprets the regulation to state that

methamphetamine, by definition, is a substance which has a stimulant effect on the central

nervous system. Although the court has not located a Tenth Circuit opinion addressing this

issue, other circuits have reached a similar conclusion. See United States v. Durham, 941 F.3d

                                                5
   Case 2:06-cr-20043-JWL       Document 249         Filed 02/13/07    Page 6 of 6




886, 890 (9th Cir. 1991)(“[T]he government need not prove methamphetamine is a central

nervous system stimulant, since the regulation has already defined it as such.”)(citing United

States v. Picklesimer, 585 F.2d 1199 (3rd Cir.1978); United States v. White, 560 F.2d 787, 789-

90 (7th Cir. 1977); and United States v. Nickles, 509 F.2d 810 (5th Cir. 1975)). Accordingly,

the forensic chemist’s testimony that the substances in question contained methamphetamine was

sufficient for a jury to conclude beyond a reasonable doubt that the substances were

methamphetamine, which is a controlled substance. See Durham, 941 F.3d at 890 (“Proof

beyond a reasonable doubt that the substance charged is methamphetamine is sufficient.”).



IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion for acquittal

(doc. #228) is denied.



       IT IS SO ORDERED.

       Dated this 13th day of February, 2007.

                                                    s/ John W. Lungstrum
                                                    John W. Lungstrum
                                                    United States District Judge




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